 Case 2:20-ap-01011-RK              Doc 1 Filed 01/21/20 Entered 01/21/20 12:41:57            Desc
                                    Main Document     Page 1 of 6



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6 Attorneys for Plaintiff Brad D. Krasnoff, Chapter
  7 Trustee
7

 8                                  UNITED STATES BANKRUPTCY COURT

 9                                  CENTRAL DISTRICT OF CALIFORNIA

10                                         LOS ANGELES DIVISION

11   In re                                                   Case No. 2:19-bk-11150-RK

12 PRECISION AGRITECH INC., dba LOCAL                        Chapter 7
   ROOTS FARMS,
13
              Debtor.
14

15 BRAD D. KRASNOFF,Chapter 7 Trustee,                       Adv. No.

16                     Plaintiff,                            TRUSTEE'S COMPLAINT TO AVOID
                                                             UNPERFECTED SECURITY INTEREST
17            vs.
                                                          Date:      SEE SUMMONS
18 ERIC ELLESTAD,an individual,                           Time:      SEE SUMMONS
                                                          Place:     Courtroom 1675
19                     Defendant.                                    255 E. Temple Street
                                                                     Los Angeles, CA 90012
20

21                                                                     '
              Plaintiff Brad D. Krasnoff, the Chapter 7 trustee ("Plaintiff or the "Trustee")for the estate

22 of Precision AgriTech, Inc. dba Local Roots Farms("Precision AgriTech"), alleges as follows:

23

24                           JURISDICTION. VENUE AND CASE BACKGROUND

25            1.       This Court has jurisdiction over this adversary proceeding (this "Action") pursuant

26 to 28 U.S.C. §§ 157 and 1334. This Action is commenced pursuant to 11 U.S.C. §§ 544 and 551,

27 as well as other applicable law. This Action is a core proceeding under 28 U.S.C. § 157(b)(2)(A),

28 (K)and (0). This Action arises in or under a case under Chapter 7 of title 11 ofthe United States

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 Case 2:20-ap-01011-RK             Doc 1 Filed 01/21/20 Entered 01/21/20 12:41:57                 Desc
                                   Main Document     Page 2 of 6



 1 Code entitled, In re Precision A~;riTech, Inc. dba Local Roots Farms, which has been assigned case

 2 number 2:19-bk-11150-RK (the "Bankruptcy Case") and is pending in the United States

 3 Bankruptcy Court, Central District of California, Los Angeles Division (this "Court"). Plaintiff

 4 consents to entry in this Action of final orders or judgment by this Court.

 5

 6                                                 THE PARTIES

 7            2.       Plaintiff brings this action solely in his capacity as the Chapter 7 Trustee for the

 8 bankruptcy estate of Precision AgriTech,Inc. dba Local Roots Farms.

 9            3.       Plaintiff is informed and believes, and based thereon alleges, that defendant Eric

10 Ellestad ("Defendant" or "Ellestad") at all times relevant herein was and is an individual residing or

1 1 doing business in the County of Los Angeles.

12

13                                          GENERAL ALLEGATIONS

14            4.       On February 4, 2019 (the "Petition Date"), Precision AgriTech filed a voluntary

15 petition for relief(the "Petition") under Chapter 7 oftitle 11 ofthe United States Code (the

16 "Bankruptcy Code"), case no. 2:19-bk-11150-RK.

17            5.       At all times relevant herein, Ellestad was the president and chief executive officer of

18 Precision AgriTech.

19'           6.       Ellestad signed the Petition, Schedules and Statement of Financial Affairs, filed by

20 Precision AgriTech.

21            7.       Also on the Petition Date, Precision AgriTechnologies LLC ("Precision

22 AgriTechnologies"), the subsidiary of Precision AgriTech filed a voluntary petition for relief under

23 Chapter 7 ofthe Bankruptcy Code, case no. 2:19-bk-11153-RK.

24            8.       Brad D. Krasnoff was subsequently appointed as the Trustee for both the Precision

25 AgriTechnologies estate and the Precision AgriTech estate, and continues to serve in that capacity.

26            9.       Precision AgriTech and Precision AgriTechnologies are referred to hereinafter

27 collectively as the "Debtors."

28

      1573469.2 1911150A                                   2
 Case 2:20-ap-01011-RK                 Doc 1 Filed 01/21/20 Entered 01/21/20 12:41:57               Desc
                                       Main Document     Page 3 of 6



 1              10.         Property of the Debtors' estates included the personal property (the "Personal

 2 Property") located at the Debtors' premises at 4600-4620 S. Santa Fe Ave., Vernon, California

 3 90058 and 5000 Hampton St., Vernon, California 90058.

 4              1 1.        The Personal Property included items such as large metal containers and their

 5 , contents and appurtenances (e.g., HVAC units) that compromise "Grow Pods," as well as

 6 machinery, equipment, tools, office furniture and materials, including a Hyster forklift.

 7              12.         On its Schedule D filed on the Petition Date, Precision AgriTech listed Ellestad as a

 8 secured creditor in the amount of $350,000.

 9              13.         On its Schedule D filed on the Petition Date, Precision AgriTech also listed Ellestad

10 as an insider with a secured loan against "all assets."

                14.         Plaintiff is informed and believes, and based thereon alleges, that Ellestad never

12 filed a UCC-1 Financing Statement against Precision AgriTech.

13 I            15.         The Trustee filed his Motion to:(1) Authorize Sale of Substantially All of the

14 I Debtor's Assets at Public Auction Free and Clear of Liens;(2) Authorize the Employment of Brian

15 Testo Associates, LLC,to Conduct Such Sale;(3) Approve Compromise Regarding Such Sale

16 Between the Trustee, the Melideo Trust and West Coast Real Estate Holdings LLC; and (4)

17 Approve Proposed Allocation of Sale Proceeds and Expenses (docket no. 30)(the "Auction

18 Motion") on or about July 30, 2019 in the Debtors' cases.

19              16.     In the Auction Motion, the Trustee requested that the sale be free and clear of liens,

20 claims and interest, and that the lien asserted by Ellestad be removed from the Personal Property,

21     with the lien attaching to like amounts of the net sale proceeds with the same force, effect, validity

22 and priority that it had as of the Petition Date against the Personal Property.

23              17.     The Court entered its order approving the Auction Motion on or about August 23,

24 2019 (docket no. 38)(the "Auction Order").

25              18.     In the Auction Order, the Court approved the Trustee's pro rata allocation of the

26 auction net sale proceeds between the Debtors' respective estates, and the attendant expenses,

27 pursuant to which 6.28% will be allocated to Precision AgriTech's estate.

28

       1573469.2 1911150A                                      ~3
 Case 2:20-ap-01011-RK              Doc 1 Filed 01/21/20 Entered 01/21/20 12:41:57                Desc
                                    Main Document     Page 4 of 6



 1~            19.       The Trustee's auctioneer conducted the auction on or about September 24, 2019,

2 aggregating $155,256.00 as net proceeds (the "Auction Proceeds").

3

4                                                CLAIM FOR RELIEF

5                      (For Avoidance of Unperfected Security Interest —11 U.S.C. § 544(a))

6             20.        Plaintiff refers to and incorporates herein by this reference each and every allegation

7 contained in paragraphs 1 through 19, inclusive, hereof as though fully set forth herein.

8             21.        Plaintiff is informed and believes, and based thereon alleges, that Ellestad's lien

9 against the Auction Proceeds is unperfected.

10            22.        Pursuant to 11 U.S.C. §§ 544(a) and 551, Plaintiff may avoid the security interest

1 1 asserted by Ellestad against the Auction Proceeds, with the lien automatically preserved for the

12 benefit ofthe estate.

13

14             WHEREFORE,Plaintiff prays for judgment as follows:

15             1.        A judgment avoiding Ellestad's unperfected security interest on the Auction

16 Proceeds;

17            2.         A judgment against Ellestad to preserve the security interest on the Auction

18 Proceeds for the benefit ofthe estate;

19            3.         For costs of suit incurred; and

20            4.         For such other relief as the Court deems just and proper.

21

22 DATED: January a ~ ,2020                          DANNING,GILL,ISRAEL & KRASNOFF,LLP

23

24
                                                     By:           4~
25                                                         SONI SINGH
                                                           Attorneys for Plaintiff Brad D. Krasnoff, Chapter 7
26                                                         Trustee
27

28

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      Case 2:20-ap-01011-RK                          Doc 1 Filed 01/21/20 Entered 01/21/20 12:41:57                                        Desc
                                                     Main Document     Page 5 of 6

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         ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                             (Court Use Only)
                (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
 BRAD D. KRASNOFF. Chapter 7 Trustee                                            ERIC ELLESTAD, an individual



ATTORNEYS(Firm Name, Address, and Telephone No.)                                ATTORNEYS(If Known)
SONIA SINGH (State Bar No. 311080) ssingh@DanningGill.com
DANNING, GILL, ISRAEL & KRASNOFF, LLP
1901 Avenue of the Stars, Suite 450, Los Angeles, CA 90067

PARTY (Check One Box Only)                          PARTY (Check One Box Only)
❑ Debtor     ❑ U.S. Trustee/Bankruptcy Admin        o Debtor          ❑ U.S. Trustee/Bankruptcy Admin
❑ Creditor   ❑Other                                 ❑Creditor         ~ Other
~f Trustee                                          ❑Trustee
CAUSE OF ACTION(WRITE A BRIEF STATEMENT OF CAUSE OF ACTION,INCLUDING ALL U.S. STATUTES WVOLVED)
FOR AVOIDANCE OF UNPERFECTED SECURITY INTEREST - 11 U.S.C. section 544(a)




                                                                   NATURE OF SUIT

       (Number up to five(5) boxes starting with lead cause of action as 1, first alternative cause as 2,second alternative cause as 3, etc.)


    FRI3P 7001(1) —Recovery of Money/Property                                   FRI3P 7001(6) — Disch~rgcability (continued)
❑ 1 ]-Recovery of money/property - §542 turnover of property                    ❑ 6]-Dischargeability - §523(a)(5), domestic support
❑ 12-Recovery of money/property - §547 preference                               ❑ 68-Dischargeability - §523(a)(6), willful and malicious injury
❑ 13-Recovery of money/property - §548 fraudulent transfer                      ❑ 63-Dischargeability - §523(a)(8), student loan
0 14-Recovery of money/property -other                                          ❑ 64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                    (other than domestic support)
  FRBP 7001(2) — Validity, Priority or Extent of Lien                           ❑ 65-Dischargeability -other
❑ 21-Validity, priority or extent of lien or other interest in propeRy
                                                                                FRBP 7001(7)—Injunctive Relief
  FRBP 7001(3) — Approval of Sale of Property                                   ❑ '7~-Injunctive relief— imposition of stay
❑ 31-Approval of sale of property of estate and of a co-owner - §363(h)         ❑ 72_Injunctive relief— other

    FRBP 7001(4) —Objection/Revocation of Discharge                             FRBP 7001(8) Subordination of Claim or Interest
❑ 41-Objection /revocation of discharge - §727(c),(d),(e)                       ❑ 81-Subordination of claim or interest

    FRBP 7001(5)— Revocation of Confirmation                                    FRBP 7001(9) Declaratory Judgment
❑ 51-Revocation of confirmation                                                 ❑ 91-Declarato~Y J ud gmeat

    FRBP 7001(6) — DischargeAbility                                             FRBP 7001(10) Determination of Removed Action
❑ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims               ❑ Ol-Determination of removed claim or cause
❑ 62-Dischargeability - §523(a)(2), false pretenses, false representation,
         actual fraud                                                           Other
❑ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny   ❑ SS-SIPA Case — 15 U.S.C. §§78aaa et.seq.
                                                                                ❑ 02-Other (e.g. other actions that would have been brought in state court
                        (continued next column)
                                                                                     if unrelated Co bankruptcy case)

❑ Check if this case involves a substantive issue ofstate law                   ❑Check if this is asserted to be a class action under FRCP 23
❑ Check if a jury trial is demanded in complaint                                Demand $
Other Relief Sought
    Case 2:20-ap-01011-RK                  Doc 1 Filed 01/21/20 Entered 01/21/20 12:41:57                                Desc
                                           Main Document     Page 6 of 6

 Bioao ~~~ORM 1040)(12/15)
                BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                 BANKRUPTCY CASE NO.
PRECISION AGRITECH, INC.                          2:19-bk-11150-RK
DISTRICT IN WHICH CASE IS PENDING              DIVISION OFFICE     NAME OF JUDGE
 CENTRAL DISTRICT OF CALIFORNIA                    LOS ANGELES     HON. ROBERT N. KWAN
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.


DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE


SIGNATURE OF ATTORNEY(OR PLAINTIFF)



                   ~ti           ~
                                 l ,

DATE                                                                  PRINT NAME OF ATTORNEY(OR PLAINTIFF)

         JANUARY 21, 2020                                                  SONIA SINGH




                                                        INSTRUCTIONS

           The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
 all ofthe property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor's discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court's Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. Ifthe
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
